          Case 1:12-cr-00320-JLT-BAM Document 15 Filed 12/06/12 Page 1 of 2


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 7
 8                       IN THE UNITED STATES DISTRICT COURT
 9                     FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,               )   CASE NO. 1:12-CR-00320 AWI-DLB
                                             )
12                        Plaintiff,         )   STIPULATION AND ORDER FOR
                                             )   CONTINUANCE OF STATUS
13   v.                                      )   CONFERENCE
                                             )
14   MIGUEL MANZO,                           )
                                             )
15                        Defendant.         )
                                             )
16                                           )
17        IT IS HEREBY STIPULATED by and between Benjamin B. Wagner,
18   United States Attorney and Kimberly A. Sanchez, Assistant U.S.
19   Attorney and Yan Shrayberman, attorney for Miguel Manzo, that the
20   status conference set for December 10, 2012 at 1:00 pm be continued
21   to January 28, 2013 at 1:00 pm before Magistrate Judge Barbara A.
22   McAuliffe. The parties have conferred and agree that additional
23   investigation is necessary.       Since the last status conference,
24   progress regarding additional investigation has been in part delayed
25   due to defense counsel’s involvement in a lengthy trial in state
26   court.   Thus, the parties need additional time for investigation and
27   plea negotiations.
28     The parties further request the Court to enter an Order finding

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          Case 1:12-cr-00320-JLT-BAM Document 15 Filed 12/06/12 Page 2 of 2


 1   that the "ends of justice" served by a continuance outweigh the
 2   interest of the public and the defendant in a speedy trial, and that
 3   the delay occasioned by such continuance is excluded from the Act's
 4   time limits pursuant to 18 U.S.C. § 3161(h)(8)(A).
 5
     Dated: December 6, 2012                   Respectfully submitted,
 6
                                               BENJAMIN B. WAGNER
 7                                             United States Attorney
 8
                                          By    /s/ Kimberly A. Sanchez
 9                                             KIMBERLY A. SANCHEZ
                                               Assistant U.S. Attorney
10
     Dated: December 6, 2012                   /s/ Yan Shrayberman
11                                             MARK BROUGHTON
                                               Attorney for Miguel Manzo
12
13
              IT IS SO ORDERED.
14
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16
               IT IS SO ORDERED.
17
              Dated:   December 6, 2012                /s/ Dennis L. Beck
18   3b142a                                    UNITED STATES MAGISTRATE JUDGE
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